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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

 SAMSUNG ELECTRONICS                           §
 AMERICA, INC.,                                §
      Plaintiff,                               §                       CIVIL ACTION NO.
                                               §
 v.                                            §                          3:15-CV-04108-L
                                               §
 YANG KUN “MICHAEL” CHUNG,                     §
 THOMAS PORCARELLO, YOON-                      §
 CHUL “ALEX” JANG, JIN-YOUNG                   §
 SONG, ALL PRO DISTRIBUTING,                   §
 INC.                                          §
       Defendants.                             §

      JOINT STIPULATION OF SETTLEMENT AND DISMISSAL WITH
             PREJUDICE AS TO YOON-CHUL “ALEX” JANG

        Pursuant to Federal Rule of Civil Procedure 41, counsel for Plaintiff Samsung

 Electronics America, Inc. and counsel for Defendant Yoon-Chul “Alex” Jang

 (collectively, the “Parties”) hereby stipulate that all of Samsung Electronics America,

 Inc.’s claims against Yoon-Chul “Alex” Jang have been compromised and settled, and

 that Yoon-Chul “Alex” Jang is dismissed from this lawsuit with prejudice. The Parties

 further stipulate that each party shall bear its own costs.




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                                     Respectfully submitted,



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